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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

    CHIANNE D.; C.D., by and through
    her mother and next friend, Chianne D.;
    and A.V., by and through her mother
    and next friend, Jennifer V.,

                           Plaintiffs,

    -vs-                                        Case No. 3:23-cv-985-MMH-LLL

    JASON WEIDA, in his official
    capacity as Secretary for the FLORIDA
    AGENCY FOR HEALTH CARE
    ADMINISTRATION, and SHEVAUN
    HARRIS, in her official capacity as
    Secretary for the FLORIDA
    DEPARTMENT OF CHILDREN
    AND FAMILIES,

                          Defendants.
    _____________________________________/

                                 NOTICE OF HEARING

           PLEASE TAKE NOTICE that the above styled cause is scheduled for a

    status conference on TUESDAY, MAY 28, 2024, at 1:30 P.M., before the

    Honorable Marcia Morales Howard, United States District Judge.

           The hearing will be held by video teleconferencing using Zoom.    The

    Courtroom Deputy Clerk will separately send participants an Outlook

    invitation with the link, meeting ID, and password.
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          Participants should dress in appropriate court attire and appear in front

    of an appropriate professional background. All persons are hereby reminded

    that pursuant to Local Rule 5.01, United States District Court, Middle District

    of Florida, “[n]o one may broadcast, televise, record, or photograph a judicial

    proceeding, including a proceeding by telephone or video.” Violation of these

    prohibitions may result in sanctions, including removal of court issued media

    credentials, restricted entry to future hearings, denial of entry to future

    hearings, or any other sanctions deemed necessary by the Court.

    DATE: May 23, 2024

                                                      FOR THE COURT:

                                                      By: s/ Jodi L. Wiles
                                                           Deputy Clerk




    ja
    Copies to:
    Counsel of Record




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